       Case: 12-56867, 12/23/2013, ID: 8912359, DktEntry: 17, Page 1 of 2

                                                                       FILED
                    UNITED STATES COURT OF APPEALS                      DEC 23 2013

                                                                    MOLLY C. DWYER, CLERK
                          FOR THE NINTH CIRCUIT                       U.S. COURT OF APPEALS




YASSIR FAZAGA; et al.,                        No. 12-56867

            Plaintiffs - Appellees,           D.C. No. 8:11-cv-00301-CJC-
                                              VBK
 v.                                           Central District of California,
                                              Santa Ana
FEDERAL BUREAU OF
INVESTIGATION; et al.,
                                              ORDER
            Defendants,

 and

BARBARA WALLS; et al.,

            Defendants - Appellants.

YASSIR FAZAGA; et al.,                        No. 12-56874

            Plaintiffs - Appellees,           D.C. No. 8:11-cv-00301-CJC-
                                              VBK
 v.                                           Central District of California,
                                              Santa Ana
FEDERAL BUREAU OF
INVESTIGATION; et al.,
                                              ORDER
            Defendants,

 and

PAT ROSE; et al.,

            Defendants - Appellants.
           Case: 12-56867, 12/23/2013, ID: 8912359, DktEntry: 17, Page 2 of 2




 YASSIR FAZAGA; et al.,                            No. 13-55017

                Plaintiffs - Appellants,           D.C. No. 8:11-cv-00301-CJC-
                                                   VBK
   v.                                              Central District of California,
                                                   Santa Ana
 FEDERAL BUREAU OF
 INVESTIGATION; et al.,
                                                   ORDER
                Defendants - Appellees,

   and

 PAT ROSE; et al.,

                Defendants - Appellees.


         On or before January 20, 2014, counsel for appellees shall provide a status

report by email to all counsel and the Circuit Mediator (Peter_Sherwood

@ca9.uscourts.gov).

                                           FOR THE COURT:


                                           By: Peter W. Sherwood
                                           Circuit Mediator




PWS/Mediation



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